Case 3:17-cv-01362 Document 1504-14 Filed 01/12/22 Page 1 of 2 PagelD #: 68621

 

 

 

Krom: "Marcum, Cathy" <CMarcum(@amensourcebergen.com>

Sent: Wed, 16 Apr 2014 10:38:14 -0400 (EDT)

To: "Campbell, Elizabeth" <ECampbell@amensourcebergen.com>; "Mays, Steve"<SMays(@amernsourcebergen.com>; "Hazewski,
Edward"<EHazewski@amerisourcebergen.com>, "Glover, Sherrice"<SGlover@amerisourcebergen.com>; "Casalenuovo,
Christopher"<CCasalenuovo@amerisourcebergen.com>

Ce: "May, David" <DMay@amerisourcebergen.com>

Subject: Follow - up - Meeting prep- DEA Office - Louisville, KY

ma ‘ ; ‘ eo * ae age 4 4 y ‘ Li
The meeting with the DEA office in Louisville KY was held on Tuesday Agri] 16".

 

David May and royself met with Martin Redd- I on Group Supervisar and Pat Salers — Diversion investigater to review the AmerisourceBergen OMP
: ram. We presented the PowerPoint that was reviewed and anproved by this group. The meeting went very weil, they ask a few general questions
surrounding the orogram to heip them getter understand the order review oricess.

 
     

ed for his office. He
d to Headquarters

    
 
 

 
  
 

   
  

 

that DEA headquarters nas irnplemer
s region and he is now required to re

d advised us that the main reason that he wanted the meeting was due te the
receives a monthly report from headqua ; that contains all the rejected orders by AB
with an explanation as to why they were reported as suspicious. Gne point of concern from him was why a customer is rejected one day a ave available
inventary the next day. This was addressed during the exaianatian af the roiling 30 days, customer threshald’s and customer setup. Ha w isfied with the
information that we provided, he alsa ask who he could reach cut te at the Paducah BC if he had any questians surrounding @ custonier on the report—!
orovided Jeff Walker’s name as the Paducah Campilance Manager as his ooint of contact .

AW OFOCe:

 
  
 

 

     

       

  
 

     

eed to take glace. He explained
cng adjusts to strengthen our

Hy reviewing the overall program to determine if there are revisions that rn
He assured them that we are continuing to review the program and are m

David May also advised Mr. Redd that he is cur
that in many cases he feels we are over re

OFGgrani as we see necessary.

      

The meeting ended on a pasitive note and there was no request for a follow up meeting.

ns and/or concerns

 

Please contact David or myself

Thank you
Cathy

 

: Afarecurt
Director -Corperate Security & Kequiatory Affairs

 

3 Picture (Device Independent Bitmap) 1.jog Ma 2

68: Office
-S8it Cel? Phone

   
 

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From: Campbell, Elizabeth

Sent: Monday, April 14, 2014 4:04 PM

To: Marcum, Cathy; Mays, Steve; May, David; Hazewski, Edward; Glover, Sherrice
Ce: Casalenuovo, Christopher J.

Subject: RE: Meeting prep- DEA Office - Louisville, KY

 

 

 

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AM-WV-01108.00001

ABDCMDL00437054
Case 3:17-cv-01362 Document 1504-14 Filed 01/12/22 Page 2 of 2 PagelD #: 68622

From: Marcum, Cathy

Sent: Monday, April 14, 2014 10:13 AM

To: Mays, Steve; May, David; Hazewski, Edward; Campbell, Elizabeth; Glover, Sherrice

Cc: Casalenuovo, Christopher J.

Subject: Meeting prep- DEA Office - Louisville, KY

When: Monday, April 14, 2014 4:45 PM-5:15 PM (UTC-05:00) Eastern Time (US & Canada).
Where: 800-315-5963, participant code 62350652: Chairperson Pass code: 76700966

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AM-WV-01108.00002
